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 4
                                 UNITED STATES DISTRICT COURT
 5
                                      DISTRICT OF NEVADA
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 7
     UNITED STATES OF AMERICA,        )
 8                                    )
                Plaintiff,            )
 9                                    )
     vs.                              )               2:10-cr-547-RLH-GWF
10                                    )
     NICHOLAS GHARFOURIA,             )
11                                    )
                Defendant.            )                     ORDER
12   ________________________________)
13
            On January 17, 2013, Thomas F. Pitaro, Esq. filed a “Motion to Withdraw as
14
     Counsel” (#768). Therefore, with good cause appearing;
15
            IT IS HEREBY ORDERED that the “Motion to Withdraw as Counsel” (#768) is
16
     granted.
17
            IT IS FURTHER ORDERED that William H. Gamage, Esq. is appointed as counsel
18
     for Nicholas Gharfouria in place of Thomas F. Pitaro, Esq. for all future proceedings.
19
            IT IS FURTHER ORDERED that Mr. Pitaro shall forward the file to Mr. Gamage
20
     forthwith.
21
22          DATED this        30 th   day of January, 2013.
23          Nunc Pro Tunc Date: January 29, 2013.
24
                                                      _____________________________
25                                                    ROGER L. HUNT
                                                      United States District Judge
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